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                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

SHAWN LINSKI,
      Plaintiff,
-vs.-                                                 Case No. 2:12-cv-13306
                                                      Hon. Patrick J. Duggan


CAVALRY PORTFOLIO SERVICES, LLC,
a foreign limited liability company,
        Defendant.
__________________________________



                      NOTICE OF VOLUNTARY DISMISSAL
             WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY

         The Plaintiff hereby dismisses the within action with prejudice and without costs to either
party.



                                                        Respectfully submitted


   October 29, 2012                                     /s/ Gary D. Nitzkin____________
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